 Case 2:20-cv-01402-SPG-JEM Document 150 Filed 06/08/23 Page 1 of 7 Page ID #:11144




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11                         UNITED STATES DISTRICT COURT
12                       CENTRAL DISTRICT OF CALIFORNIA
13                                   Western Division
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      SECURITIES AND EXCHANGE                    Case No. 2:20-cv-01402-SPG-JEM
15    COMMISSION,
                                                 CONSENT OF MARK ANDREW
16                 Plaintiff,                    MACARTHUR
17           vs.                                 Judge: Hon. Sherilyn Peace Garnett
18    CRITERION WEALTH
      MANAGEMENT INSURANCE
19    SERVICES, INC.; ROBERT ALLEN
      GRAVETTE; and MARK ANDREW
20    MACARTHUR,
21                 Defendants.
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 Case 2:20-cv-01402-SPG-JEM Document 150 Filed 06/08/23 Page 2 of 7 Page ID #:11145




1          1.      Defendant Mark Andrew MacArthur (“Defendant”) waives service of a
2    summons and the complaint in this action, enters a general appearance, and admits
3    the Court’s jurisdiction over Defendant and over the subject matter of this action.
4          2.      Without admitting or denying the allegations of the complaint (except as
5    provided herein in paragraph 12 and except as to personal and subject matter
6    jurisdiction, which Defendant admits), Defendant hereby consents to the entry of the
7    Final Judgment in the form attached hereto (the “Final Judgment”) and incorporated
8    by reference herein, which, among other things:
9               a. permanently restrains and enjoins Defendant from violating Section
10                 206(2) of the Investment Advisers Act of 1940 (“Advisers Act”), 15
11                 U.S.C. § 80b-6(2);
12              b. permanently restrains and enjoins Defendant (including his officers,
13                 agents, and employees at M2 Financial, LLC) from receiving any
14                 compensation, beyond an advisory fee paid by or on behalf of a client,
15                 from an advisory client’s purchase or sale of securities or other
16                 investment products unless the following is disclosed, in writing, before
17                 the completion of each transaction: (i) the type of compensation; (ii) the
18                 recipients of the compensation; (iii) the amount of compensation (or an
19                 annual approximation of any compensation, such as with trailing referral
20                 fees); (iv) the potential or actual impact of the compensation if any on
21                 clients’ investment returns; and (v) the corresponding conflict of interest;
22              c. orders Defendant to pay disgorgement in the amount of $231,948, plus
23                 prejudgment interest thereon in the amount of $23,770.84 ; and
24              d. orders Defendant to pay a civil penalty in the amount of $111,614 under
25                 Section 209(e) of the Advisers Act, 15 U.S.C. § 80b-9(e).
26         3.      Defendant acknowledges that the civil penalty paid pursuant to the Final
27   Judgment may be distributed pursuant to the Fair Fund provisions of Section 308(a)
28   of the Sarbanes-Oxley Act of 2002. Regardless of whether any such Fair Fund

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 Case 2:20-cv-01402-SPG-JEM Document 150 Filed 06/08/23 Page 3 of 7 Page ID #:11146




1    distribution is made, the civil penalty shall be treated as a penalty paid to the
2    government for all purposes, including all tax purposes. To preserve the deterrent
3    effect of the civil penalty, Defendant agrees that he shall not, after offset or reduction
4    of any award of compensatory damages in any Related Investor Action based on
5    Defendant’s payment of disgorgement in this action, argue that he is entitled to, nor
6    shall he further benefit by, offset or reduction of such compensatory damages award
7    by the amount of any part of Defendant’s payment of a civil penalty in this action
8    (“Penalty Offset”). If the court in any Related Investor Action grants such a Penalty
9    Offset, Defendant agrees that he shall, within 30 days after entry of a final order
10   granting the Penalty Offset, notify the Commission’s counsel in this action and pay
11   the amount of the Penalty Offset to the United States Treasury or to a Fair Fund, as
12   the Commission directs. Such a payment shall not be deemed an additional civil
13   penalty and shall not be deemed to change the amount of the civil penalty imposed in
14   this action. For purposes of this paragraph, a “Related Investor Action” means a
15   private damages action brought against Defendant by or on behalf of one or more
16   investors based on substantially the same facts as alleged in the Complaint in this
17   action.
18         4.     Defendant agrees that he shall not seek or accept, directly or indirectly,
19   reimbursement or indemnification from any source, including but not limited to
20   payment made pursuant to any insurance policy, with regard to any civil penalty
21   amounts that Defendant pays pursuant to the Final Judgment, regardless of whether
22   such penalty amounts or any part thereof are added to a distribution fund or otherwise
23   used for the benefit of investors. Defendant further agrees that he shall not claim,
24   assert, or apply for a tax deduction or tax credit with regard to any federal, state, or
25   local tax for any penalty amounts that Defendant pays pursuant to the Final
26   Judgment, regardless of whether such penalty amounts or any part thereof are added
27   to a distribution fund or otherwise used for the benefit of investors.
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 Case 2:20-cv-01402-SPG-JEM Document 150 Filed 06/08/23 Page 4 of 7 Page ID #:11147




1          5.     Defendant waives the entry of findings of fact and conclusions of law
2    pursuant to Rule 52 of the Federal Rules of Civil Procedure.
3          6.     Defendant waives the right, if any, to a jury trial and to appeal from the
4    entry of the Judgment.
5          7.     Defendant enters into this Consent voluntarily and represents that no
6    threats, offers, promises, or inducements of any kind have been made by the
7    Commission or any member, officer, employee, agent, or representative of the
8    Commission to induce Defendant to enter into this Consent.
9          8.     Defendant agrees that this Consent shall be incorporated into the
10   Judgment with the same force and effect as if fully set forth therein.
11         9.     Defendant will not oppose the enforcement of the Judgment on the
12   ground, if any exists, that it fails to comply with Rule 65(d) of the Federal Rules of
13   Civil Procedure, and hereby waives any objection based thereon.
14         10.    Defendant waives service of the Judgment and agrees that entry of the
15   Judgment by the Court and filing with the Clerk of the Court will constitute notice to
16   Defendant of its terms and conditions. Defendant further agrees to provide counsel
17   for the Commission, within 30 days after the Judgment is filed with the Clerk of the
18   Court, with an affidavit or declaration stating that Defendant has received and read a
19   copy of the Judgment.
20         11.    Consistent with 17 C.F.R. 202.5(f), this Consent resolves only the claims
21   asserted against Defendant in this civil proceeding. Defendant acknowledges that no
22   promise or representation has been made by the Commission or any member, officer,
23   employee, agent, or representative of the Commission with regard to any criminal
24   liability that may have arisen or may arise from the facts underlying this action or
25   immunity from any such criminal liability. Defendant waives any claim of Double
26   Jeopardy based upon the settlement of this proceeding, including the imposition of
27   any remedy or civil penalty herein. Defendant further acknowledges that the Court’s
28   entry of a permanent injunction may have collateral consequences under federal or

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 Case 2:20-cv-01402-SPG-JEM Document 150 Filed 06/08/23 Page 5 of 7 Page ID #:11148




1    state law and the rules and regulations of self-regulatory organizations, licensing
2    boards, and other regulatory organizations. Such collateral consequences include, but
3    are not limited to, a statutory disqualification with respect to membership or
4    participation in, or association with a member of, a self-regulatory organization. This
5    statutory disqualification has consequences that are separate from any sanction
6    imposed in an administrative proceeding. In addition, in any disciplinary proceeding
7    before the Commission based on the entry of the injunction in this action, Defendant
8    understands that he shall not be permitted to contest the factual allegations of the
9    complaint in this action.
10         12.    Defendant understands and agrees to comply with the terms of 17 C.F.R.
11   § 202.5(e), which provides in part that it is the Commission’s policy “not to permit a
12   defendant or respondent to consent to a judgment or order that imposes a sanction
13   while denying the allegations in the complaint or order for proceedings,” and “a
14   refusal to admit the allegations is equivalent to a denial, unless the defendant or
15   respondent states that he neither admits nor denies the allegations.” As part of
16   Defendant’s agreement to comply with the terms of Section 202.5(e), Defendant: (i)
17   will not take any action or make or permit to be made any public statement denying,
18   directly or indirectly, any allegation in the complaint or creating the impression that
19   the complaint is without factual basis; (ii) will not make or permit to be made any
20   public statement to the effect that Defendant does not admit the allegations of the
21   complaint, or that this Consent contains no admission of the allegations, without also
22   stating that Defendant does not deny the allegations; (iii) upon the filing of this
23   Consent, Defendant hereby withdraws any papers filed in this action to the extent that
24   they deny any allegation in the complaint; and (iv) stipulates solely for purposes of
25   exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C.
26   § 523, that the allegations in the complaint are true, and further, that any debt for
27   disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant
28   under the Judgment or any other judgment, order, consent order, decree or settlement

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 Case 2:20-cv-01402-SPG-JEM Document 150 Filed 06/08/23 Page 6 of 7 Page ID #:11149




1    agreement entered in connection with this proceeding, is a debt for the violation by
2    Defendant of the federal securities laws or any regulation or order issued under such
3    laws, as set forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C.
4    § 523(a)(19). If Defendant breaches this agreement, the Commission may petition
5    the Court to vacate the Judgment and restore this action to its active docket. Nothing
6    in this paragraph affects Defendant’s: (i) testimonial obligations; or (ii) right to take
7    legal or factual positions in litigation or other legal proceedings in which the
8    Commission is not a party.
9          13.    Defendant hereby waives any rights under the Equal Access to Justice
10   Act, the Small Business Regulatory Enforcement Fairness Act of 1996, or any other
11   provision of law to seek from the United States, or any agency, or any official of the
12   United States acting in his or her official capacity, directly or indirectly,
13   reimbursement of attorney’s fees or other fees, expenses, or costs expended by
14   Defendant to defend against this action. For these purposes, Defendant agrees that
15   Defendant is not the prevailing party in this action since the parties have reached a
16   good faith settlement.
17         14.    In connection with this action and any related judicial or administrative
18   proceeding or investigation commenced by the Commission or to which the
19   Commission is a party, Defendant (i) agrees to appear and be interviewed by
20   Commission staff at such times and places as the staff requests upon reasonable
21   notice; (ii) will accept service by mail or email of notices or subpoenas issued by the
22   Commission for documents or testimony at depositions, hearings, or trials, or in
23   connection with any related investigation by Commission staff; (iii) appoints
24   Defendant’s undersigned attorney as agent to receive service of such notices and
25   subpoenas; (iv) with respect to such notices and subpoenas, waives the territorial
26   limits on service contained in Rule 45 of the Federal Rules of Civil Procedure and
27   any applicable local rules, provided that the party requesting the testimony reimburses
28   Defendant's travel, lodging, and subsistence expenses at the then-prevailing U.S.

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Case 2:20-cv-01402-SPG-JEM Document 150 Filed 06/08/23 Page 7 of 7 Page ID #:11150




 1   Government per diem rates; and ( v) consents to personal jurisdiction over Defendant
 2 in any United States District Court for purposes of enforcing any such subpoena.
 3          15.     Defendant agrees that the Commission may present the Judgment to the
 4   Court for signature and entry without further notice.
 5          16.     Defendant agrees that this Court shall retain jurisdiction over this matter
     for the purpos o enforcing the terms of the Ju g en
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1o   On C)l-1 - oi:o-            , 2023, Mark Andrew MacArthur, a person known to me,
11   personally appeared before me and acknowle                     xecuting the foregoing Consent.
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13                      •••••••• f
14
                          GABRIEL R. BARSOUM

                                                        Commission expires: 12---o:S--ZQJU,
                         Notary Public • California z
                            Los Angeles County      �

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                           Commission It 2429224
                        y Comm. Expires Dec 5, 2026


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18 Approved as to form:
19
20 Jeffrey R. Thomas, Esq.
   Thomas Law LLC
21 3801 E. Florida Ave.
   Suite 107
22 Denver, CO 80210
23 Email: jthomas@thomaslawllc.com
24
   Attorney for Defendant Mark Andrew MacArthur

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